Case 3:23-cv-01246-RNC   Document 123-15   Filed 06/18/25   Page 1 of 43




                  Exhibit M
        Case 3:23-cv-01246-RNC             Document 123-15           Filed 06/18/25   Page 2 of 43


                                                    Monday, June 9, 2025 at 15:53:45 Eastern Daylight Time

Subject:        RE: Black Widow Lawsuit (08279-L0001A)
Date:           Friday, December 1, 2023 at 4:02:34 PM Eastern Standard Time
From:           Winter, Jonathan A.
To:          Gerold, Samantha M., Hugh Pfabe
Attachments: P000001-P000001.pdf


Hugh – attached for production is P000001

This evidence of actual confusion might be useful in your discussions with your client on
Monday.

Jonathan Winter
Partner



St. Onge IP
St. Onge Steward Johnston & Reens LLC

986 Bedford Street
Stamford, Connecticut 06905‑-5619
ssjr.com
Main: +1 (203) 324‑-6155
Direct: +1 (203) 541‑-4520
Email: jwinter@ssjr.com

From: Gerold, Samantha M. <sgerold@ssjr.com>
Sent: Friday, December 1, 2023 3:37 PM
To: Hugh Pfabe <hpfabe@armorylegalgroup.com>; Winter, Jonathan A. <jwinter@ssjr.com>
Subject: RE: Black Widow Lawsuit (08279-L0001A)

Hugh,

Great speaking with you. As discussed, attached please find a redline version of the 26(f)
Report for your further edits.

We look forward to receiving your additional input.

Kind regards,
Samantha

Samantha Gerold
Associate


St. Onge IP
St. Onge Steward Johnston & Reens LLC



                                                        1                                                    1 of 3
        Case 3:23-cv-01246-RNC            Document 123-15       Filed 06/18/25      Page 3 of 43


986 Bedford Street
Stamford, Connecticut 06905‑-5619
ssjr.com
Main: +1 (203) 324‑-6155
Direct: +1 (203) 541‑-4551
Email: sgerold@ssjr.com

From: Hugh Pfabe <hpfabe@armorylegalgroup.com>
Sent: Wednesday, November 29, 2023 10:36 AM
To: Winter, Jonathan A. <jwinter@ssjr.com>
Cc: Gerold, Samantha M. <sgerold@ssjr.com>
Subject: Re: Black Widow Lawsuit (08279-L0001A)

Mr. Winter,

Thank you for reaching out.

I can be available at 3pm on Friday (12/1/2023). I do have a hard stop at 4pm on that day, so let me
know if you an_cipate that _meframe being an issue.

If you do not foresee an issue with that, please call me at (860) 698-0070 at that _me.

Thank you,

-Hugh


On Tue, Nov 28, 2023 at 6:26 PM Winter, Jonathan A. <jwinter@ssjr.com> wrote:
  Mr. Pfabe:

  The court has set Monday, December 4 as our deadline to conduct the 26(f) conference and
  submit a report. I should have a draft report ready for your review by Thursday, possibly
  tomorrow. Do you want to speak Friday afternoon to conduct our 26(f) conference? Would
  3:00 work? If not, please suggest an alternate time.
  Jonathan Winter
  Partner


  St. Onge IP
  St. Onge Steward Johnston & Reens LLC

  986 Bedford Street
  Stamford, Connecticut 06905‑-5619
  ssjr.com
  Main: +1 (203) 324‑-6155
  Direct: +1 (203) 541‑-4520
  Email: jwinter@ssjr.com



                                                    2                                                  2 of 3
Case 3:23-cv-01246-RNC   Document 123-15   Filed 06/18/25   Page 4 of 43




                                 3                                         3 of 3
        Case 3:23-cv-01246-RNC             Document 123-15           Filed 06/18/25        Page 5 of 43


                                                   Monday, June 9, 2025 at 15:54:56 Eastern Daylight Time

Subject:       RE: Activity in Case 3:23-cv-01246-RNC Black Widow Termite & Pest Control Corp. v. Black Widow Pest
               Specialist LLC Calendar Entry
Date:          Thursday, December 7, 2023 at 5:11:00 PM Eastern Standard Time
From:          Winter, Jonathan A.
To:            Hugh Pfabe
CC:            Gerold, Samantha M.
Attachments: Initial Disclosures.pdf, P000045-P000045.pdf, P000046-P000047.pdf, P000002-P000002.pdf, P000003-
             P000044.pdf


Attached for service please find my client’s initial disclosures. Also enclosed are P000002-47
(P00001 already produced previously). Note that some documents are marked Confidential or
Attorney Eyes Only under the protective order.

From: Winter, Jonathan A.
Sent: Thursday, December 7, 2023 1:28 PM
To: Hugh Pfabe <hpfabe@armorylegalgroup.com>
Subject: FW: AcLvity in Case 3:23-cv-01246-RNC Black Widow Termite & Pest Control Corp. v. Black
Widow Pest Specialist LLC Calendar Entry

Hugh – so we can be efficient on this call in terms of scheduling:

We can do any date Jan 8 through end of Feb except Jan 15, 16, Feb 5, 19, 20, 29.

From: CMECF@ctd.uscourts.gov <CMECF@ctd.uscourts.gov>
Sent: Wednesday, December 6, 2023 3:03 PM
To: CMECF@ctd.uscourts.gov
Subject: AcLvity in Case 3:23-cv-01246-RNC Black Widow Termite & Pest Control Corp. v. Black Widow
Pest Specialist LLC Calendar Entry


This is an automaLc e-mail message generated by the CM/ECF system. Please DO
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limit do not apply.

                                            U.S. District Court

                                         District of ConnecLcut

Notice of Electronic Filing

                                                        4                                                            1 of 2
       Case 3:23-cv-01246-RNC          Document 123-15        Filed 06/18/25     Page 6 of 43



The following transacLon was entered on 12/6/2023 at 3:03 PM EST and ﬁled on 12/6/2023
Case Name:            Black Widow Termite & Pest Control Corp. v. Black Widow Pest Specialist LLC
Case Number:          3:23-cv-01246-RNC
Filer:
Document Number: 19(No document a]ached)

Docket Text:
NOTICE OF E-FILED CALENDAR: THIS IS THE ONLY NOTICE COUNSEL/THE
PARTIES WILL RECEIVE. A pre-settlement telephonic status conference has been
set for 12/14/2023 at 9:30 a.m. before Judge S. Dave Vatti. The purpose of the call
is to discuss scheduling and any information exchange/discovery necessary to
make the conference most meaningful. A date for the settlement conference will
be set during the telephone call. As the Court will require parties or their
representatives with settlement authority to attend the settlement conference,
counsel should obtain dates of unavailability from their clients over the next sixty
days and have their own calendars available to aid in scheduling. If either
counsel/party develops a firm, unavoidable conflict on 12/14/2023 at 9:30 a.m.,
s/he should not file a motion for continuance but rather should call Chambers
(203) 579-5593 as soon as possible with opposing counsel on the line to work out
an alternate day and time for the pre-settlement telephonic status conference.
Parties should dial 866-434-5269, to connect to the conference and enter access
code 2006808. (Ellis, Bernadette)


3:23-cv-01246-RNC NoLce has been electronically mailed to:

Jonathan Adam Winter     jwinter@ssjr.com, 7480754420@ﬁlings.docketbird.com, liLgaLon@ssjr.com

Hubert W. Pfabe   hpfabe@armorylegalgroup.com

3:23-cv-01246-RNC NoLce has been delivered by other means to:




                                                  5                                                 2 of 2
        Case 3:23-cv-01246-RNC             Document 123-15           Filed 06/18/25        Page 7 of 43


                                                    Monday, June 9, 2025 at 15:55:25 Eastern Daylight Time

Subject:       Re: 08279 2001A - Black Widow Termite & Pest Control Corp. v. Black Widow Pest Specialists LLC
Date:          Wednesday, February 14, 2024 at 3:05:49 PM Eastern Standard Time
From:          Jonathan Winter
To:          Hugh Pfabe
CC:          Samantha Gerold
Attachments: P000048-P000048.pdf


See the a'ached P000048 for produc3on marked conﬁden3al. P000001-47 were already produced.

Jonathan Winter
FARBER LLC
4 Corporate Drive | Suite 287 | Shelton, CT 06484
Mobile: (203)-606-0128
Direct line: (203) 285-8356 | Main office: (203) 286-5140 | Fax: (203) 286-5137
E-mail: j.winter@farberllc.com | Website: www.farberllc.com



From: Jonathan Winter <j.winter@farberllc.com>
Date: Monday, February 12, 2024 at 9:19 AM
To: Hugh Pfabe <hpfabe@armorylegalgroup.com>
Cc: Samantha Gerold <samantha.gerold@farberllc.com>
Subject: Re: 08279 2001A - Black Widow Termite & Pest Control Corp. v. Black Widow Pest
Specialists LLC

Hugh – if your client intends to change its name then we can certainly focus on preparing se'lement
papers instead of discovery. We have seen no indica3on your client is interested in changing its name
and we have a case to prosecute. My client is keeping its pre-media3on proposal available only un3l the
call on 2/22, which is what we commi'ed to do. We never discussed a stay/extension of discovery.
 Certainly if your client starts forcing mine to incur discovery expenses it will move us oﬀ the pre-
media3on proposal, but your client is en3tled to do what it wants under the discovery rules and we will
respond accordingly.

Best,

Jonathan Winter
FARBER LLC
4 Corporate Drive | Suite 287 | Shelton, CT 06484
Mobile: (203)-606-0128
Direct line: (203) 285-8356 | Main office: (203) 286-5140 | Fax: (203) 286-5137
E-mail: j.winter@farberllc.com | Website: www.farberllc.com



From: Hugh Pfabe <hpfabe@armorylegalgroup.com>
Date: Monday, February 12, 2024 at 3:14 AM
To: Jonathan Winter <j.winter@farberllc.com>

                                                        6                                                       1 of 3
          Case 3:23-cv-01246-RNC        Document 123-15        Filed 06/18/25      Page 8 of 43


Cc: Samantha Gerold <samantha.gerold@farberllc.com>
Subject: Re: 08279 2001A - Black Widow Termite & Pest Control Corp. v. Black Widow Pest
Specialists LLC

Hello Jonathan,

I apologize for the slow response. I am on my honeymoon in Iceland and have not been checking emails
since I leR last week.

I was under the impression that, as we and Judge VaT had discussed the importance of using se'lement
nego3a3ons, par3cularly at such an early stage, to a'empt to avoid burdening both of our clients with
discovery costs, and had discussed delaying further ac3on un3l aRer our se'lement call on 2/22, we
were holding on the document produc3on requests and interrogatories as well. I'm sure you agree that
document produc3on can be a signiﬁcant ﬁnancial burden, which we would prefer to avoid for both of
our clients.

If you understand things diﬀerently, I will begin preparing these responses upon my return. I have
reached out to my client, and I will be back at my desk on Monday, 2/19, at which point I will endeavor
to get the responses to you as quickly as I can.

Thank you,

-Hugh

On Fri, Feb 9, 2024 at 7:55 AM Jonathan Winter <j.winter@farberllc.com> wrote:
  Hugh - responses to these discovery requests were due yesterday and we have not received any
  objec3ons or responses. Please produce the requested documents and respond to the
  interrogatories.

  Best,

  Jonathan Winter
  FARBER LLC
  4 Corporate Drive Suite 287 Shelton, CT 06484
  Direct line: (203) 285-8356
  Main oﬃce: (203) 286-5140
  Fax: (203) 286-5137
  E-mail: j.winter@farberllc.com
  Website: www.farberllc.com



           On Jan 9, 2024, at 10:51 AM, Samantha Gerold <samantha.gerold@farberllc.com>
           wrote:


           Good morning,

                                                    7                                                     2 of 3
Case 3:23-cv-01246-RNC          Document 123-15       Filed 06/18/25     Page 9 of 43



 A'ached please ﬁnd Plain3ﬀ’s First Set of Interrogatories and Requests for Produc3on
 directed to the Defendant.

 Kind regards,
 Samantha
 <Plain3ﬀ's First Interrogatories.pdf>
 <Plain3ﬀ's First RFP.pdf>




                                          8                                             3 of 3
        Case 3:23-cv-01246-RNC         Document 123-15         Filed 06/18/25     Page 10 of 43


Direct line: (203) 285-8356 | Main office: (203) 286-5140 | Fax: (203) 286-5137
E-mail: j.winter@farberllc.com | Website: www.farberllc.com



From: Jonathan Winter <j.winter@farberllc.com>
Date: Monday, January 6, 2025 at 10:09 AM
To: Carroll, Wilson T. <WCarroll@cohenandwolf.com>, HoVman, Ari J.
<AHoVman@cohenandwolf.com>
Cc: Samantha Gerold <samantha.gerold@farberllc.com>
Subject: Re: Re: Re: Re: 08279 2001A - Black Widow Termite & Pest Control Corp. v. Black
Widow Pest Specialists LLC

Good Morning:

Enclosed for production are P000992-1220.

Best,

Jonathan Winter
FARBER LLC
4 Corporate Drive | Suite 287 | Shelton, CT 06484
Mobile: (203)-606-0128
Direct line: (203) 285-8356 | Main office: (203) 286-5140 | Fax: (203) 286-5137
E-mail: j.winter@farberllc.com | Website: www.farberllc.com



From: Jonathan Winter <j.winter@farberllc.com>
Date: Monday, December 9, 2024 at 11:15 AM
To: Carroll, Wilson T. <WCarroll@cohenandwolf.com>, HoVman, Ari J.
<AHoVman@cohenandwolf.com>
Cc: Samantha Gerold <samantha.gerold@farberllc.com>
Subject: Re: Re: Re: 08279 2001A - Black Widow Termite & Pest Control Corp. v. Black
Widow Pest Specialists LLC

Good morning:

Please see the below link for P000640-991. The link expires Thursday. Several of the documents
are marked AEO or Conﬁdential under the protective order.

https://www.dropbox.com/scl/fo/tl6qpvr0n0vzh4kgqscc0/ACQ77snkL_JIzeyvUfTz-rA?
rlkey=imbv0n36t4bkpf0zqmqqc7g83&st=y46mq5an&dl=0

Best,

Jonathan Winter
FARBER LLC
4 Corporate Drive | Suite 287 | Shelton, CT 06484

                                                    9                                             2 of 6
        Case 3:23-cv-01246-RNC         Document 123-15         Filed 06/18/25     Page 11 of 43


Mobile: (203)-606-0128
Direct line: (203) 285-8356 | Main office: (203) 286-5140 | Fax: (203) 286-5137
E-mail: j.winter@farberllc.com | Website: www.farberllc.com



From: Jonathan Winter <j.winter@farberllc.com>
Date: Thursday, October 31, 2024 at 2:16 PM
To: Carroll, Wilson T. <WCarroll@cohenandwolf.com>, HoVman, Ari J.
<AHoVman@cohenandwolf.com>
Cc: Samantha Gerold <samantha.gerold@farberllc.com>
Subject: Re: Re: 08279 2001A - Black Widow Termite & Pest Control Corp. v. Black Widow
Pest Specialists LLC

Ari and Wilson:

Enclosed for service please ﬁnd the following:

PlaintiV’s Damages analysis
Expert report of John Bowen and CV

Linked below for download are P000049-639. The link expires November 2, some of the documents
are marked Conﬁdential or AEO under the protective order. Please conﬁrm when you have
downloaded the ﬁles so we can de-activate the link. P000001-48 were previously produced.

https://www.dropbox.com/scl/fo/1hq18qcfx7vdms7tweyqp/AKdXdJcddPuDwer6_aq8t70?
rlkey=rpj0gfe2x8azxzdqg5o0avpkf&st=b3d958f5&dl=0

Finally, I am enclosing a copy of our October 11, 2024 letter regarding discovery issues speciﬁc to
the deposition of Mr. Black which we have not received a response to. Please advise your
availability for a meet and confer Monday afternoon (except 3-4pm) or Tuesday after 10am in
advance of a request for discovery conference/motion to compel or alternately please produce
these items immediately.

Best,

Jonathan Winter
FARBER LLC
4 Corporate Drive | Suite 287 | Shelton, CT 06484
Mobile: (203)-606-0128
Direct line: (203) 285-8356 | Main office: (203) 286-5140 | Fax: (203) 286-5137
E-mail: j.winter@farberllc.com | Website: www.farberllc.com



From: Jonathan Winter <j.winter@farberllc.com>
Date: Wednesday, February 14, 2024 at 3:05 PM
To: Hugh Pfabe <hpfabe@armorylegalgroup.com>
Cc: Samantha Gerold <samantha.gerold@farberllc.com>

                                                    10                                                3 of 6
        Case 3:23-cv-01246-RNC         Document 123-15         Filed 06/18/25     Page 12 of 43


Subject: Re: 08279 2001A - Black Widow Termite & Pest Control Corp. v. Black Widow Pest
Specialists LLC

See the a'ached P000048 for produc3on marked conﬁden3al. P000001-47 were already produced.

Jonathan Winter
FARBER LLC
4 Corporate Drive | Suite 287 | Shelton, CT 06484
Mobile: (203)-606-0128
Direct line: (203) 285-8356 | Main office: (203) 286-5140 | Fax: (203) 286-5137
E-mail: j.winter@farberllc.com | Website: www.farberllc.com



From: Jonathan Winter <j.winter@farberllc.com>
Date: Monday, February 12, 2024 at 9:19 AM
To: Hugh Pfabe <hpfabe@armorylegalgroup.com>
Cc: Samantha Gerold <samantha.gerold@farberllc.com>
Subject: Re: 08279 2001A - Black Widow Termite & Pest Control Corp. v. Black Widow Pest
Specialists LLC

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and we have a case to prosecute. My client is keeping its pre-media3on proposal available only un3l the
call on 2/22, which is what we commi'ed to do. We never discussed a stay/extension of discovery.
 Certainly if your client starts forcing mine to incur discovery expenses it will move us oﬀ the pre-
media3on proposal, but your client is en3tled to do what it wants under the discovery rules and we will
respond accordingly.

Best,

Jonathan Winter
FARBER LLC
4 Corporate Drive | Suite 287 | Shelton, CT 06484
Mobile: (203)-606-0128
Direct line: (203) 285-8356 | Main office: (203) 286-5140 | Fax: (203) 286-5137
E-mail: j.winter@farberllc.com | Website: www.farberllc.com



From: Hugh Pfabe <hpfabe@armorylegalgroup.com>
Date: Monday, February 12, 2024 at 3:14 AM
To: Jonathan Winter <j.winter@farberllc.com>
Cc: Samantha Gerold <samantha.gerold@farberllc.com>
Subject: Re: 08279 2001A - Black Widow Termite & Pest Control Corp. v. Black Widow Pest
Specialists LLC

Hello Jonathan,


                                                    11                                                    4 of 6
        Case 3:23-cv-01246-RNC         Document 123-15         Filed 06/18/25     Page 13 of 43


I apologize for the slow response. I am on my honeymoon in Iceland and have not been checking emails
since I leR last week.

I was under the impression that, as we and Judge VaT had discussed the importance of using se'lement
nego3a3ons, par3cularly at such an early stage, to a'empt to avoid burdening both of our clients with
discovery costs, and had discussed delaying further ac3on un3l aRer our se'lement call on 2/22, we
were holding on the document produc3on requests and interrogatories as well. I'm sure you agree that
document produc3on can be a signiﬁcant ﬁnancial burden, which we would prefer to avoid for both of
our clients.

If you understand things diﬀerently, I will begin preparing these responses upon my return. I have
reached out to my client, and I will be back at my desk on Monday, 2/19, at which point I will endeavor
to get the responses to you as quickly as I can.

Thank you,

-Hugh

On Fri, Feb 9, 2024 at 7:55 AM Jonathan Winter <j.winter@farberllc.com> wrote:
  Hugh - responses to these discovery requests were due yesterday and we have not received any
  objec3ons or responses. Please produce the requested documents and respond to the
  interrogatories.

  Best,

  Jonathan Winter
  FARBER LLC
  4 Corporate Drive Suite 287 Shelton, CT 06484
  Direct line: (203) 285-8356
  Main oﬃce: (203) 286-5140
  Fax: (203) 286-5137
  E-mail: j.winter@farberllc.com
  Website: www.farberllc.com



          On Jan 9, 2024, at 10:51 AM, Samantha Gerold <samantha.gerold@farberllc.com>
          wrote:


          Good morning,

          A'ached please ﬁnd Plain3ﬀ’s First Set of Interrogatories and Requests for Produc3on
          directed to the Defendant.

          Kind regards,
          Samantha


                                                   12                                                     5 of 6
Case 3:23-cv-01246-RNC         Document 123-15   Filed 06/18/25   Page 14 of 43


 <Plain3ﬀ's First Interrogatories.pdf>
 <Plain3ﬀ's First RFP.pdf>




                                         13                                       6 of 6
        Case 3:23-cv-01246-RNC             Document 123-15            Filed 06/18/25       Page 15 of 43


                                                     Monday, June 9, 2025 at 15:56:02 Eastern Daylight Time

Subject:        08279 2001A - Black Widow Termite & Pest Control Corp. v. Black Widow Pest Specialists LLC
Date:           Thursday, February 13, 2025 at 2:28:40 PM Eastern Standard Time
From:           Samantha Gerold
To:          Carroll, Wilson T., HoVman, Ari J.
CC:          Jonathan Winter
Attachments: P001227-P001228.pdf


Good afternoon,

Enclosed for production is P001227-P001228.

Kind regards,
Samantha

FARBER LLC
Samantha Gerold | Attorney
4 Corporate Drive | Suite 287 | Shelton, CT 06484
Direct line: (914) 844-3832 | Main office: (203) 286-5140
samantha.gerold@farberllc.com | www.farberllc.com

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From: Jonathan Winter <j.winter@farberllc.com>
Date: Tuesday, January 21, 2025 at 4:17 PM
To: Carroll, Wilson T. <WCarroll@cohenandwolf.com>, HoVman, Ari J.
<AHoVman@cohenandwolf.com>
Cc: Samantha Gerold <samantha.gerold@farberllc.com>
Subject: Re: Re: Re: Re: Re: 08279 2001A - Black Widow Termite & Pest Control Corp. v.
Black Widow Pest Specialists LLC

Good afternoon:

Enclosed for production is P001221-1226.

Also enclosed is a draft status report, which is technically past due, so we would like to get it ﬁled
ASAP. Please let us know if we can ﬁle with your signature or if you have any suggested changes.

Best,

Jonathan Winter
FARBER LLC
4 Corporate Drive | Suite 287 | Shelton, CT 06484
Mobile: (203)-606-0128

                                                         14                                                           1 of 6
       Case 3:23-cv-01246-RNC               Document 123-15           Filed 06/18/25        Page 16 of 43


                                                     Monday, June 9, 2025 at 15:56:25 Eastern Daylight Time

Subject:        Re: 08279 2001A - Black Widow Termite & Pest Control Corp. v. Black Widow Pest Specialists LLC
Date:           Wednesday, March 26, 2025 at 2:40:14 PM Eastern Daylight Time
From:           Samantha Gerold
To:          HoVman, Ari J.
CC:          Jonathan Winter, Carroll, Wilson T., Estrella, Emilio
Attachments: P001229-P001230.pdf


Good afternoon,

Enclosed for production is P001229-P001230.

Kind regards,
Samantha

FARBER LLC
Samantha Gerold | Attorney
4 Corporate Drive | Suite 287 | Shelton, CT 06484
Direct line: (914) 844-3832 | Main office: (203) 286-5140
samantha.gerold@farberllc.com | www.farberllc.com

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received this transmission in error, please notify the sender by e-mail and delete the message and any attachments.
 Distribution of the message is prohibited.



From: Samantha Gerold <samantha.gerold@farberllc.com>
Date: Thursday, February 13, 2025 at 2:28 PM
To: Carroll, Wilson T. <WCarroll@cohenandwolf.com>, HoVman, Ari J.
<AHoVman@cohenandwolf.com>
Cc: Jonathan Winter <j.winter@farberllc.com>
Subject: 08279 2001A - Black Widow Termite & Pest Control Corp. v. Black Widow Pest
Specialists LLC

Good afternoon,

Enclosed for production is P001227-P001228.

Kind regards,
Samantha

FARBER LLC
Samantha Gerold | Attorney
4 Corporate Drive | Suite 287 | Shelton, CT 06484
Direct line: (914) 844-3832 | Main office: (203) 286-5140
samantha.gerold@farberllc.com | www.farberllc.com

This message is confidential and may contain information which is privileged or attorney work product. If you

                                                         15                                                           1 of 6
        Case 3:23-cv-01246-RNC             Document 123-15            Filed 06/18/25       Page 17 of 43


received this transmission in error, please notify the sender by e-mail and delete the message and any attachments.
 Distribution of the message is prohibited.



From: Jonathan Winter <j.winter@farberllc.com>
Date: Tuesday, January 21, 2025 at 4:17 PM
To: Carroll, Wilson T. <WCarroll@cohenandwolf.com>, HoVman, Ari J.
<AHoVman@cohenandwolf.com>
Cc: Samantha Gerold <samantha.gerold@farberllc.com>
Subject: Re: Re: Re: Re: Re: 08279 2001A - Black Widow Termite & Pest Control Corp. v.
Black Widow Pest Specialists LLC

Good afternoon:

Enclosed for production is P001221-1226.

Also enclosed is a draft status report, which is technically past due, so we would like to get it ﬁled
ASAP. Please let us know if we can ﬁle with your signature or if you have any suggested changes.

Best,

Jonathan Winter
FARBER LLC
4 Corporate Drive | Suite 287 | Shelton, CT 06484
Mobile: (203)-606-0128
Direct line: (203) 285-8356 | Main office: (203) 286-5140 | Fax: (203) 286-5137
E-mail: j.winter@farberllc.com | Website: www.farberllc.com



From: Jonathan Winter <j.winter@farberllc.com>
Date: Monday, January 6, 2025 at 10:09 AM
To: Carroll, Wilson T. <WCarroll@cohenandwolf.com>, HoVman, Ari J.
<AHoVman@cohenandwolf.com>
Cc: Samantha Gerold <samantha.gerold@farberllc.com>
Subject: Re: Re: Re: Re: 08279 2001A - Black Widow Termite & Pest Control Corp. v. Black
Widow Pest Specialists LLC

Good Morning:

Enclosed for production are P000992-1220.

Best,

Jonathan Winter
FARBER LLC
4 Corporate Drive | Suite 287 | Shelton, CT 06484
Mobile: (203)-606-0128

                                                         16                                                           2 of 6
        Case 3:23-cv-01246-RNC         Document 123-15         Filed 06/18/25     Page 18 of 43


Direct line: (203) 285-8356 | Main office: (203) 286-5140 | Fax: (203) 286-5137
E-mail: j.winter@farberllc.com | Website: www.farberllc.com



From: Jonathan Winter <j.winter@farberllc.com>
Date: Monday, December 9, 2024 at 11:15 AM
To: Carroll, Wilson T. <WCarroll@cohenandwolf.com>, HoVman, Ari J.
<AHoVman@cohenandwolf.com>
Cc: Samantha Gerold <samantha.gerold@farberllc.com>
Subject: Re: Re: Re: 08279 2001A - Black Widow Termite & Pest Control Corp. v. Black
Widow Pest Specialists LLC

Good morning:

Please see the below link for P000640-991. The link expires Thursday. Several of the documents
are marked AEO or Conﬁdential under the protective order.

https://www.dropbox.com/scl/fo/tl6qpvr0n0vzh4kgqscc0/ACQ77snkL_JIzeyvUfTz-rA?
rlkey=imbv0n36t4bkpf0zqmqqc7g83&st=y46mq5an&dl=0

Best,

Jonathan Winter
FARBER LLC
4 Corporate Drive | Suite 287 | Shelton, CT 06484
Mobile: (203)-606-0128
Direct line: (203) 285-8356 | Main office: (203) 286-5140 | Fax: (203) 286-5137
E-mail: j.winter@farberllc.com | Website: www.farberllc.com



From: Jonathan Winter <j.winter@farberllc.com>
Date: Thursday, October 31, 2024 at 2:16 PM
To: Carroll, Wilson T. <WCarroll@cohenandwolf.com>, HoVman, Ari J.
<AHoVman@cohenandwolf.com>
Cc: Samantha Gerold <samantha.gerold@farberllc.com>
Subject: Re: Re: 08279 2001A - Black Widow Termite & Pest Control Corp. v. Black Widow
Pest Specialists LLC

Ari and Wilson:

Enclosed for service please ﬁnd the following:

PlaintiV’s Damages analysis
Expert report of John Bowen and CV

Linked below for download are P000049-639. The link expires November 2, some of the documents
are marked Conﬁdential or AEO under the protective order. Please conﬁrm when you have

                                                    17                                            3 of 6
        Case 3:23-cv-01246-RNC         Document 123-15         Filed 06/18/25     Page 19 of 43


downloaded the ﬁles so we can de-activate the link. P000001-48 were previously produced.

https://www.dropbox.com/scl/fo/1hq18qcfx7vdms7tweyqp/AKdXdJcddPuDwer6_aq8t70?
rlkey=rpj0gfe2x8azxzdqg5o0avpkf&st=b3d958f5&dl=0

Finally, I am enclosing a copy of our October 11, 2024 letter regarding discovery issues speciﬁc to
the deposition of Mr. Black which we have not received a response to. Please advise your
availability for a meet and confer Monday afternoon (except 3-4pm) or Tuesday after 10am in
advance of a request for discovery conference/motion to compel or alternately please produce
these items immediately.

Best,

Jonathan Winter
FARBER LLC
4 Corporate Drive | Suite 287 | Shelton, CT 06484
Mobile: (203)-606-0128
Direct line: (203) 285-8356 | Main office: (203) 286-5140 | Fax: (203) 286-5137
E-mail: j.winter@farberllc.com | Website: www.farberllc.com



From: Jonathan Winter <j.winter@farberllc.com>
Date: Wednesday, February 14, 2024 at 3:05 PM
To: Hugh Pfabe <hpfabe@armorylegalgroup.com>
Cc: Samantha Gerold <samantha.gerold@farberllc.com>
Subject: Re: 08279 2001A - Black Widow Termite & Pest Control Corp. v. Black Widow Pest
Specialists LLC

See the a'ached P000048 for produc3on marked conﬁden3al. P000001-47 were already produced.

Jonathan Winter
FARBER LLC
4 Corporate Drive | Suite 287 | Shelton, CT 06484
Mobile: (203)-606-0128
Direct line: (203) 285-8356 | Main office: (203) 286-5140 | Fax: (203) 286-5137
E-mail: j.winter@farberllc.com | Website: www.farberllc.com



From: Jonathan Winter <j.winter@farberllc.com>
Date: Monday, February 12, 2024 at 9:19 AM
To: Hugh Pfabe <hpfabe@armorylegalgroup.com>
Cc: Samantha Gerold <samantha.gerold@farberllc.com>
Subject: Re: 08279 2001A - Black Widow Termite & Pest Control Corp. v. Black Widow Pest
Specialists LLC

Hugh – if your client intends to change its name then we can certainly focus on preparing se'lement
papers instead of discovery. We have seen no indica3on your client is interested in changing its name

                                                    18                                                  4 of 6
        Case 3:23-cv-01246-RNC         Document 123-15         Filed 06/18/25     Page 20 of 43


and we have a case to prosecute. My client is keeping its pre-media3on proposal available only un3l the
call on 2/22, which is what we commi'ed to do. We never discussed a stay/extension of discovery.
 Certainly if your client starts forcing mine to incur discovery expenses it will move us oﬀ the pre-
media3on proposal, but your client is en3tled to do what it wants under the discovery rules and we will
respond accordingly.

Best,

Jonathan Winter
FARBER LLC
4 Corporate Drive | Suite 287 | Shelton, CT 06484
Mobile: (203)-606-0128
Direct line: (203) 285-8356 | Main office: (203) 286-5140 | Fax: (203) 286-5137
E-mail: j.winter@farberllc.com | Website: www.farberllc.com



From: Hugh Pfabe <hpfabe@armorylegalgroup.com>
Date: Monday, February 12, 2024 at 3:14 AM
To: Jonathan Winter <j.winter@farberllc.com>
Cc: Samantha Gerold <samantha.gerold@farberllc.com>
Subject: Re: 08279 2001A - Black Widow Termite & Pest Control Corp. v. Black Widow Pest
Specialists LLC

Hello Jonathan,

I apologize for the slow response. I am on my honeymoon in Iceland and have not been checking emails
since I leR last week.

I was under the impression that, as we and Judge VaT had discussed the importance of using se'lement
nego3a3ons, par3cularly at such an early stage, to a'empt to avoid burdening both of our clients with
discovery costs, and had discussed delaying further ac3on un3l aRer our se'lement call on 2/22, we
were holding on the document produc3on requests and interrogatories as well. I'm sure you agree that
document produc3on can be a signiﬁcant ﬁnancial burden, which we would prefer to avoid for both of
our clients.

If you understand things diﬀerently, I will begin preparing these responses upon my return. I have
reached out to my client, and I will be back at my desk on Monday, 2/19, at which point I will endeavor
to get the responses to you as quickly as I can.

Thank you,

-Hugh

On Fri, Feb 9, 2024 at 7:55 AM Jonathan Winter <j.winter@farberllc.com> wrote:
  Hugh - responses to these discovery requests were due yesterday and we have not received any
  objec3ons or responses. Please produce the requested documents and respond to the
  interrogatories.

                                                    19                                                    5 of 6
    Case 3:23-cv-01246-RNC            Document 123-15       Filed 06/18/25     Page 21 of 43



Best,

Jonathan Winter
FARBER LLC
4 Corporate Drive Suite 287 Shelton, CT 06484
Direct line: (203) 285-8356
Main oﬃce: (203) 286-5140
Fax: (203) 286-5137
E-mail: j.winter@farberllc.com
Website: www.farberllc.com



        On Jan 9, 2024, at 10:51 AM, Samantha Gerold <samantha.gerold@farberllc.com>
        wrote:


        Good morning,

        A'ached please ﬁnd Plain3ﬀ’s First Set of Interrogatories and Requests for Produc3on
        directed to the Defendant.

        Kind regards,
        Samantha
        <Plain3ﬀ's First Interrogatories.pdf>
        <Plain3ﬀ's First RFP.pdf>




                                                 20                                            6 of 6
       Case 3:23-cv-01246-RNC               Document 123-15           Filed 06/18/25        Page 22 of 43


                                                     Monday, June 9, 2025 at 15:57:18 Eastern Daylight Time

Subject:        08279 2001A - Black Widow Termite & Pest Control Corp. v. Black Widow Pest Specialists LLC
Date:           Monday, April 14, 2025 at 7:47:52 PM Eastern Daylight Time
From:           Samantha Gerold
To:          HoTman, Ari J.
CC:          Jonathan Winter, Carroll, Wilson T., Estrella, Emilio
Attachments: P001231-P001232.pdf


Good evening,

Enclosed for production is P001231-P001232.

Kind regards,
Samantha

FARBER LLC
Samantha Gerold | Attorney
4 Corporate Drive | Suite 287 | Shelton, CT 06484
Direct line: (914) 844-3832 | Main office: (203) 286-5140
samantha.gerold@farberllc.com | www.farberllc.com

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received this transmission in error, please notify the sender by e-mail and delete the message and any attachments.
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From: Samantha Gerold <samantha.gerold@farberllc.com>
Date: Wednesday, March 26, 2025 at 2:40 PM
To: HoTman, Ari J. <AHoTman@cohenandwolf.com>
Cc: Jonathan Winter <j.winter@farberllc.com>, Carroll, Wilson T.
<WCarroll@cohenandwolf.com>, Estrella, Emilio <EEstrella@cohenandwolf.com>
Subject: Re: 08279 2001A - Black Widow Termite & Pest Control Corp. v. Black Widow Pest
Specialists LLC

Good afternoon,

Enclosed for production is P001229-P001230.

Kind regards,
Samantha

FARBER LLC
Samantha Gerold | Attorney
4 Corporate Drive | Suite 287 | Shelton, CT 06484
Direct line: (914) 844-3832 | Main office: (203) 286-5140
samantha.gerold@farberllc.com | www.farberllc.com

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                                                         21                                                           1 of 7
        Case 3:23-cv-01246-RNC             Document 123-15            Filed 06/18/25       Page 23 of 43


received this transmission in error, please notify the sender by e-mail and delete the message and any attachments.
 Distribution of the message is prohibited.



From: Samantha Gerold <samantha.gerold@farberllc.com>
Date: Thursday, February 13, 2025 at 2:28 PM
To: Carroll, Wilson T. <WCarroll@cohenandwolf.com>, HoTman, Ari J.
<AHoTman@cohenandwolf.com>
Cc: Jonathan Winter <j.winter@farberllc.com>
Subject: 08279 2001A - Black Widow Termite & Pest Control Corp. v. Black Widow Pest
Specialists LLC

Good afternoon,

Enclosed for production is P001227-P001228.

Kind regards,
Samantha

FARBER LLC
Samantha Gerold | Attorney
4 Corporate Drive | Suite 287 | Shelton, CT 06484
Direct line: (914) 844-3832 | Main office: (203) 286-5140
samantha.gerold@farberllc.com | www.farberllc.com

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received this transmission in error, please notify the sender by e-mail and delete the message and any attachments.
 Distribution of the message is prohibited.



From: Jonathan Winter <j.winter@farberllc.com>
Date: Tuesday, January 21, 2025 at 4:17 PM
To: Carroll, Wilson T. <WCarroll@cohenandwolf.com>, HoTman, Ari J.
<AHoTman@cohenandwolf.com>
Cc: Samantha Gerold <samantha.gerold@farberllc.com>
Subject: Re: Re: Re: Re: Re: 08279 2001A - Black Widow Termite & Pest Control Corp. v.
Black Widow Pest Specialists LLC

Good afternoon:

Enclosed for production is P001221-1226.

Also enclosed is a draft status report, which is technically past due, so we would like to get it ﬁled
ASAP. Please let us know if we can ﬁle with your signature or if you have any suggested changes.

Best,

Jonathan Winter

                                                         22                                                           2 of 7
        Case 3:23-cv-01246-RNC         Document 123-15         Filed 06/18/25     Page 24 of 43


FARBER LLC
4 Corporate Drive | Suite 287 | Shelton, CT 06484
Mobile: (203)-606-0128
Direct line: (203) 285-8356 | Main office: (203) 286-5140 | Fax: (203) 286-5137
E-mail: j.winter@farberllc.com | Website: www.farberllc.com



From: Jonathan Winter <j.winter@farberllc.com>
Date: Monday, January 6, 2025 at 10:09 AM
To: Carroll, Wilson T. <WCarroll@cohenandwolf.com>, HoTman, Ari J.
<AHoTman@cohenandwolf.com>
Cc: Samantha Gerold <samantha.gerold@farberllc.com>
Subject: Re: Re: Re: Re: 08279 2001A - Black Widow Termite & Pest Control Corp. v. Black
Widow Pest Specialists LLC

Good Morning:

Enclosed for production are P000992-1220.

Best,

Jonathan Winter
FARBER LLC
4 Corporate Drive | Suite 287 | Shelton, CT 06484
Mobile: (203)-606-0128
Direct line: (203) 285-8356 | Main office: (203) 286-5140 | Fax: (203) 286-5137
E-mail: j.winter@farberllc.com | Website: www.farberllc.com



From: Jonathan Winter <j.winter@farberllc.com>
Date: Monday, December 9, 2024 at 11:15 AM
To: Carroll, Wilson T. <WCarroll@cohenandwolf.com>, HoTman, Ari J.
<AHoTman@cohenandwolf.com>
Cc: Samantha Gerold <samantha.gerold@farberllc.com>
Subject: Re: Re: Re: 08279 2001A - Black Widow Termite & Pest Control Corp. v. Black
Widow Pest Specialists LLC

Good morning:

Please see the below link for P000640-991. The link expires Thursday. Several of the documents
are marked AEO or Conﬁdential under the protective order.

https://www.dropbox.com/scl/fo/tl6qpvr0n0vzh4kgqscc0/ACQ77snkL_JIzeyvUfTz-rA?
rlkey=imbv0n36t4bkpf0zqmqqc7g83&st=y46mq5an&dl=0

Best,


                                                    23                                            3 of 7
        Case 3:23-cv-01246-RNC         Document 123-15         Filed 06/18/25     Page 25 of 43


Jonathan Winter
FARBER LLC
4 Corporate Drive | Suite 287 | Shelton, CT 06484
Mobile: (203)-606-0128
Direct line: (203) 285-8356 | Main office: (203) 286-5140 | Fax: (203) 286-5137
E-mail: j.winter@farberllc.com | Website: www.farberllc.com



From: Jonathan Winter <j.winter@farberllc.com>
Date: Thursday, October 31, 2024 at 2:16 PM
To: Carroll, Wilson T. <WCarroll@cohenandwolf.com>, HoTman, Ari J.
<AHoTman@cohenandwolf.com>
Cc: Samantha Gerold <samantha.gerold@farberllc.com>
Subject: Re: Re: 08279 2001A - Black Widow Termite & Pest Control Corp. v. Black Widow
Pest Specialists LLC

Ari and Wilson:

Enclosed for service please ﬁnd the following:

PlaintiT’s Damages analysis
Expert report of John Bowen and CV

Linked below for download are P000049-639. The link expires November 2, some of the documents
are marked Conﬁdential or AEO under the protective order. Please conﬁrm when you have
downloaded the ﬁles so we can de-activate the link. P000001-48 were previously produced.

https://www.dropbox.com/scl/fo/1hq18qcfx7vdms7tweyqp/AKdXdJcddPuDwer6_aq8t70?
rlkey=rpj0gfe2x8azxzdqg5o0avpkf&st=b3d958f5&dl=0

Finally, I am enclosing a copy of our October 11, 2024 letter regarding discovery issues speciﬁc to
the deposition of Mr. Black which we have not received a response to. Please advise your
availability for a meet and confer Monday afternoon (except 3-4pm) or Tuesday after 10am in
advance of a request for discovery conference/motion to compel or alternately please produce
these items immediately.

Best,

Jonathan Winter
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Mobile: (203)-606-0128
Direct line: (203) 285-8356 | Main office: (203) 286-5140 | Fax: (203) 286-5137
E-mail: j.winter@farberllc.com | Website: www.farberllc.com



From: Jonathan Winter <j.winter@farberllc.com>

                                                    24                                                4 of 7
        Case 3:23-cv-01246-RNC         Document 123-15         Filed 06/18/25     Page 26 of 43


Date: Wednesday, February 14, 2024 at 3:05 PM
To: Hugh Pfabe <hpfabe@armorylegalgroup.com>
Cc: Samantha Gerold <samantha.gerold@farberllc.com>
Subject: Re: 08279 2001A - Black Widow Termite & Pest Control Corp. v. Black Widow Pest
Specialists LLC

See the a'ached P000048 for produc3on marked conﬁden3al. P000001-47 were already produced.

Jonathan Winter
FARBER LLC
4 Corporate Drive | Suite 287 | Shelton, CT 06484
Mobile: (203)-606-0128
Direct line: (203) 285-8356 | Main office: (203) 286-5140 | Fax: (203) 286-5137
E-mail: j.winter@farberllc.com | Website: www.farberllc.com



From: Jonathan Winter <j.winter@farberllc.com>
Date: Monday, February 12, 2024 at 9:19 AM
To: Hugh Pfabe <hpfabe@armorylegalgroup.com>
Cc: Samantha Gerold <samantha.gerold@farberllc.com>
Subject: Re: 08279 2001A - Black Widow Termite & Pest Control Corp. v. Black Widow Pest
Specialists LLC

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papers instead of discovery. We have seen no indica3on your client is interested in changing its name
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call on 2/22, which is what we commi'ed to do. We never discussed a stay/extension of discovery.
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Best,

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From: Hugh Pfabe <hpfabe@armorylegalgroup.com>
Date: Monday, February 12, 2024 at 3:14 AM
To: Jonathan Winter <j.winter@farberllc.com>
Cc: Samantha Gerold <samantha.gerold@farberllc.com>
Subject: Re: 08279 2001A - Black Widow Termite & Pest Control Corp. v. Black Widow Pest
Specialists LLC

                                                    25                                                    5 of 7
        Case 3:23-cv-01246-RNC         Document 123-15         Filed 06/18/25     Page 27 of 43


Hello Jonathan,

I apologize for the slow response. I am on my honeymoon in Iceland and have not been checking emails
since I leR last week.

I was under the impression that, as we and Judge VaT had discussed the importance of using se'lement
nego3a3ons, par3cularly at such an early stage, to a'empt to avoid burdening both of our clients with
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document produc3on can be a signiﬁcant ﬁnancial burden, which we would prefer to avoid for both of
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If you understand things diﬀerently, I will begin preparing these responses upon my return. I have
reached out to my client, and I will be back at my desk on Monday, 2/19, at which point I will endeavor
to get the responses to you as quickly as I can.

Thank you,

-Hugh

On Fri, Feb 9, 2024 at 7:55 AM Jonathan Winter <j.winter@farberllc.com> wrote:
  Hugh - responses to these discovery requests were due yesterday and we have not received any
  objec3ons or responses. Please produce the requested documents and respond to the
  interrogatories.

  Best,

  Jonathan Winter
  FARBER LLC
  4 Corporate Drive Suite 287 Shelton, CT 06484
  Direct line: (203) 285-8356
  Main oﬃce: (203) 286-5140
  Fax: (203) 286-5137
  E-mail: j.winter@farberllc.com
  Website: www.farberllc.com



          On Jan 9, 2024, at 10:51 AM, Samantha Gerold <samantha.gerold@farberllc.com>
          wrote:


          Good morning,

          A'ached please ﬁnd Plain3ﬀ’s First Set of Interrogatories and Requests for Produc3on
          directed to the Defendant.



                                                   26                                                     6 of 7
Case 3:23-cv-01246-RNC         Document 123-15   Filed 06/18/25   Page 28 of 43


 Kind regards,
 Samantha
 <Plain3ﬀ's First Interrogatories.pdf>
 <Plain3ﬀ's First RFP.pdf>




                                         27                                       7 of 7
       Case 3:23-cv-01246-RNC               Document 123-15           Filed 06/18/25        Page 29 of 43


                                                     Monday, June 9, 2025 at 15:57:41 Eastern Daylight Time

Subject:        Re: 08279 2001A - Black Widow Termite & Pest Control Corp. v. Black Widow Pest Specialists LLC
Date:           Wednesday, April 23, 2025 at 4:21:51 PM Eastern Daylight Time
From:           Samantha Gerold
To:          HoVman, Ari J.
CC:          Jonathan Winter, Carroll, Wilson T., Estrella, Emilio
Attachments: P001233-P001234.pdf


Ari,

A"ached is a courtesy copy of P001233-P001234, produced during today’s 30(b)(6) deposiAon.

Kind regards,
Samantha

FARBER LLC
Samantha Gerold | Attorney
4 Corporate Drive | Suite 287 | Shelton, CT 06484
Direct line: (914) 844-3832 | Main office: (203) 286-5140
samantha.gerold@farberllc.com | www.farberllc.com

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From: Samantha Gerold <samantha.gerold@farberllc.com>
Date: Monday, April 14, 2025 at 7:47 PM
To: HoVman, Ari J. <AHoVman@cohenandwolf.com>
Cc: Jonathan Winter <j.winter@farberllc.com>, Carroll, Wilson T.
<WCarroll@cohenandwolf.com>, Estrella, Emilio <EEstrella@cohenandwolf.com>
Subject: 08279 2001A - Black Widow Termite & Pest Control Corp. v. Black Widow Pest
Specialists LLC

Good evening,

Enclosed for production is P001231-P001232.

Kind regards,
Samantha

FARBER LLC
Samantha Gerold | Attorney
4 Corporate Drive | Suite 287 | Shelton, CT 06484
Direct line: (914) 844-3832 | Main office: (203) 286-5140
samantha.gerold@farberllc.com | www.farberllc.com

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                                                         28                                                           1 of 7
       Case 3:23-cv-01246-RNC              Document 123-15            Filed 06/18/25       Page 30 of 43


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From: Samantha Gerold <samantha.gerold@farberllc.com>
Date: Wednesday, March 26, 2025 at 2:40 PM
To: HoVman, Ari J. <AHoVman@cohenandwolf.com>
Cc: Jonathan Winter <j.winter@farberllc.com>, Carroll, Wilson T.
<WCarroll@cohenandwolf.com>, Estrella, Emilio <EEstrella@cohenandwolf.com>
Subject: Re: 08279 2001A - Black Widow Termite & Pest Control Corp. v. Black Widow Pest
Specialists LLC

Good afternoon,

Enclosed for production is P001229-P001230.

Kind regards,
Samantha

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4 Corporate Drive | Suite 287 | Shelton, CT 06484
Direct line: (914) 844-3832 | Main office: (203) 286-5140
samantha.gerold@farberllc.com | www.farberllc.com

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Date: Thursday, February 13, 2025 at 2:28 PM
To: Carroll, Wilson T. <WCarroll@cohenandwolf.com>, HoVman, Ari J.
<AHoVman@cohenandwolf.com>
Cc: Jonathan Winter <j.winter@farberllc.com>
Subject: 08279 2001A - Black Widow Termite & Pest Control Corp. v. Black Widow Pest
Specialists LLC

Good afternoon,

Enclosed for production is P001227-P001228.

Kind regards,
Samantha

FARBER LLC
Samantha Gerold | Attorney
4 Corporate Drive | Suite 287 | Shelton, CT 06484

                                                         29                                                           2 of 7
        Case 3:23-cv-01246-RNC             Document 123-15            Filed 06/18/25       Page 31 of 43


Direct line: (914) 844-3832 | Main office: (203) 286-5140
samantha.gerold@farberllc.com | www.farberllc.com

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received this transmission in error, please notify the sender by e-mail and delete the message and any attachments.
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From: Jonathan Winter <j.winter@farberllc.com>
Date: Tuesday, January 21, 2025 at 4:17 PM
To: Carroll, Wilson T. <WCarroll@cohenandwolf.com>, HoVman, Ari J.
<AHoVman@cohenandwolf.com>
Cc: Samantha Gerold <samantha.gerold@farberllc.com>
Subject: Re: Re: Re: Re: Re: 08279 2001A - Black Widow Termite & Pest Control Corp. v.
Black Widow Pest Specialists LLC

Good afternoon:

Enclosed for production is P001221-1226.

Also enclosed is a draft status report, which is technically past due, so we would like to get it ﬁled
ASAP. Please let us know if we can ﬁle with your signature or if you have any suggested changes.

Best,

Jonathan Winter
FARBER LLC
4 Corporate Drive | Suite 287 | Shelton, CT 06484
Mobile: (203)-606-0128
Direct line: (203) 285-8356 | Main office: (203) 286-5140 | Fax: (203) 286-5137
E-mail: j.winter@farberllc.com | Website: www.farberllc.com



From: Jonathan Winter <j.winter@farberllc.com>
Date: Monday, January 6, 2025 at 10:09 AM
To: Carroll, Wilson T. <WCarroll@cohenandwolf.com>, HoVman, Ari J.
<AHoVman@cohenandwolf.com>
Cc: Samantha Gerold <samantha.gerold@farberllc.com>
Subject: Re: Re: Re: Re: 08279 2001A - Black Widow Termite & Pest Control Corp. v. Black
Widow Pest Specialists LLC

Good Morning:

Enclosed for production are P000992-1220.

Best,

Jonathan Winter

                                                         30                                                           3 of 7
        Case 3:23-cv-01246-RNC         Document 123-15         Filed 06/18/25     Page 32 of 43


FARBER LLC
4 Corporate Drive | Suite 287 | Shelton, CT 06484
Mobile: (203)-606-0128
Direct line: (203) 285-8356 | Main office: (203) 286-5140 | Fax: (203) 286-5137
E-mail: j.winter@farberllc.com | Website: www.farberllc.com



From: Jonathan Winter <j.winter@farberllc.com>
Date: Monday, December 9, 2024 at 11:15 AM
To: Carroll, Wilson T. <WCarroll@cohenandwolf.com>, HoVman, Ari J.
<AHoVman@cohenandwolf.com>
Cc: Samantha Gerold <samantha.gerold@farberllc.com>
Subject: Re: Re: Re: 08279 2001A - Black Widow Termite & Pest Control Corp. v. Black
Widow Pest Specialists LLC

Good morning:

Please see the below link for P000640-991. The link expires Thursday. Several of the documents
are marked AEO or Conﬁdential under the protective order.

https://www.dropbox.com/scl/fo/tl6qpvr0n0vzh4kgqscc0/ACQ77snkL_JIzeyvUfTz-rA?
rlkey=imbv0n36t4bkpf0zqmqqc7g83&st=y46mq5an&dl=0

Best,

Jonathan Winter
FARBER LLC
4 Corporate Drive | Suite 287 | Shelton, CT 06484
Mobile: (203)-606-0128
Direct line: (203) 285-8356 | Main office: (203) 286-5140 | Fax: (203) 286-5137
E-mail: j.winter@farberllc.com | Website: www.farberllc.com



From: Jonathan Winter <j.winter@farberllc.com>
Date: Thursday, October 31, 2024 at 2:16 PM
To: Carroll, Wilson T. <WCarroll@cohenandwolf.com>, HoVman, Ari J.
<AHoVman@cohenandwolf.com>
Cc: Samantha Gerold <samantha.gerold@farberllc.com>
Subject: Re: Re: 08279 2001A - Black Widow Termite & Pest Control Corp. v. Black Widow
Pest Specialists LLC

Ari and Wilson:

Enclosed for service please ﬁnd the following:

PlaintiV’s Damages analysis
Expert report of John Bowen and CV

                                                    31                                            4 of 7
        Case 3:23-cv-01246-RNC         Document 123-15         Filed 06/18/25     Page 33 of 43



Linked below for download are P000049-639. The link expires November 2, some of the documents
are marked Conﬁdential or AEO under the protective order. Please conﬁrm when you have
downloaded the ﬁles so we can de-activate the link. P000001-48 were previously produced.

https://www.dropbox.com/scl/fo/1hq18qcfx7vdms7tweyqp/AKdXdJcddPuDwer6_aq8t70?
rlkey=rpj0gfe2x8azxzdqg5o0avpkf&st=b3d958f5&dl=0

Finally, I am enclosing a copy of our October 11, 2024 letter regarding discovery issues speciﬁc to
the deposition of Mr. Black which we have not received a response to. Please advise your
availability for a meet and confer Monday afternoon (except 3-4pm) or Tuesday after 10am in
advance of a request for discovery conference/motion to compel or alternately please produce
these items immediately.

Best,

Jonathan Winter
FARBER LLC
4 Corporate Drive | Suite 287 | Shelton, CT 06484
Mobile: (203)-606-0128
Direct line: (203) 285-8356 | Main office: (203) 286-5140 | Fax: (203) 286-5137
E-mail: j.winter@farberllc.com | Website: www.farberllc.com



From: Jonathan Winter <j.winter@farberllc.com>
Date: Wednesday, February 14, 2024 at 3:05 PM
To: Hugh Pfabe <hpfabe@armorylegalgroup.com>
Cc: Samantha Gerold <samantha.gerold@farberllc.com>
Subject: Re: 08279 2001A - Black Widow Termite & Pest Control Corp. v. Black Widow Pest
Specialists LLC

See the a"ached P000048 for producAon marked conﬁdenAal. P000001-47 were already produced.

Jonathan Winter
FARBER LLC
4 Corporate Drive | Suite 287 | Shelton, CT 06484
Mobile: (203)-606-0128
Direct line: (203) 285-8356 | Main office: (203) 286-5140 | Fax: (203) 286-5137
E-mail: j.winter@farberllc.com | Website: www.farberllc.com



From: Jonathan Winter <j.winter@farberllc.com>
Date: Monday, February 12, 2024 at 9:19 AM
To: Hugh Pfabe <hpfabe@armorylegalgroup.com>
Cc: Samantha Gerold <samantha.gerold@farberllc.com>
Subject: Re: 08279 2001A - Black Widow Termite & Pest Control Corp. v. Black Widow Pest
Specialists LLC

                                                    32                                                5 of 7
        Case 3:23-cv-01246-RNC         Document 123-15         Filed 06/18/25     Page 34 of 43


Hugh – if your client intends to change its name then we can certainly focus on preparing se"lement
papers instead of discovery. We have seen no indicaAon your client is interested in changing its name
and we have a case to prosecute. My client is keeping its pre-mediaAon proposal available only unAl the
call on 2/22, which is what we commi"ed to do. We never discussed a stay/extension of discovery.
 Certainly if your client starts forcing mine to incur discovery expenses it will move us oﬀ the pre-
mediaAon proposal, but your client is enAtled to do what it wants under the discovery rules and we will
respond accordingly.

Best,

Jonathan Winter
FARBER LLC
4 Corporate Drive | Suite 287 | Shelton, CT 06484
Mobile: (203)-606-0128
Direct line: (203) 285-8356 | Main office: (203) 286-5140 | Fax: (203) 286-5137
E-mail: j.winter@farberllc.com | Website: www.farberllc.com



From: Hugh Pfabe <hpfabe@armorylegalgroup.com>
Date: Monday, February 12, 2024 at 3:14 AM
To: Jonathan Winter <j.winter@farberllc.com>
Cc: Samantha Gerold <samantha.gerold@farberllc.com>
Subject: Re: 08279 2001A - Black Widow Termite & Pest Control Corp. v. Black Widow Pest
Specialists LLC

Hello Jonathan,

I apologize for the slow response. I am on my honeymoon in Iceland and have not been checking emails
since I leY last week.

I was under the impression that, as we and Judge Va[ had discussed the importance of using se"lement
negoAaAons, parAcularly at such an early stage, to a"empt to avoid burdening both of our clients with
discovery costs, and had discussed delaying further acAon unAl aYer our se"lement call on 2/22, we
were holding on the document producAon requests and interrogatories as well. I'm sure you agree that
document producAon can be a signiﬁcant ﬁnancial burden, which we would prefer to avoid for both of
our clients.

If you understand things diﬀerently, I will begin preparing these responses upon my return. I have
reached out to my client, and I will be back at my desk on Monday, 2/19, at which point I will endeavor
to get the responses to you as quickly as I can.

Thank you,

-Hugh

On Fri, Feb 9, 2024 at 7:55 AM Jonathan Winter <j.winter@farberllc.com> wrote:
  Hugh - responses to these discovery requests were due yesterday and we have not received any

                                                    33                                                    6 of 7
    Case 3:23-cv-01246-RNC            Document 123-15       Filed 06/18/25     Page 35 of 43


objecAons or responses. Please produce the requested documents and respond to the
interrogatories.

Best,

Jonathan Winter
FARBER LLC
4 Corporate Drive Suite 287 Shelton, CT 06484
Direct line: (203) 285-8356
Main oﬃce: (203) 286-5140
Fax: (203) 286-5137
E-mail: j.winter@farberllc.com
Website: www.farberllc.com



        On Jan 9, 2024, at 10:51 AM, Samantha Gerold <samantha.gerold@farberllc.com>
        wrote:


        Good morning,

        A"ached please ﬁnd PlainAﬀ’s First Set of Interrogatories and Requests for ProducAon
        directed to the Defendant.

        Kind regards,
        Samantha
        <PlainAﬀ's First Interrogatories.pdf>
        <PlainAﬀ's First RFP.pdf>




                                                 34                                            7 of 7
       Case 3:23-cv-01246-RNC               Document 123-15           Filed 06/18/25        Page 36 of 43


                                                     Monday, June 9, 2025 at 15:58:03 Eastern Daylight Time

Subject:        Re: Re: 08279 2001A - Black Widow Termite & Pest Control Corp. v. Black Widow Pest Specialists LLC
Date:           Tuesday, May 27, 2025 at 12:14:43 PM Eastern Daylight Time
From:           Samantha Gerold
To:          HoVman, Ari J., Estrella, Emilio
CC:          Jonathan Winter, Carroll, Wilson T.
Attachments: P001235.pdf


Good afternoon,

Enclosed for production is P001235.

Best,
Samantha

FARBER LLC
Samantha Gerold | Attorney
4 Corporate Drive | Suite 287 | Shelton, CT 06484
Direct line: (914) 844-3832 | Main office: (203) 286-5140
samantha.gerold@farberllc.com | www.farberllc.com

This message is confidential and may contain information which is privileged or attorney work product. If you
received this transmission in error, please notify the sender by e-mail and delete the message and any attachments.
 Distribution of the message is prohibited.



From: Samantha Gerold <samantha.gerold@farberllc.com>
Date: Wednesday, April 23, 2025 at 4:21 PM
To: HoVman, Ari J. <AHoVman@cohenandwolf.com>
Cc: Jonathan Winter <j.winter@farberllc.com>, Carroll, Wilson T.
<WCarroll@cohenandwolf.com>, Estrella, Emilio <EEstrella@cohenandwolf.com>
Subject: Re: 08279 2001A - Black Widow Termite & Pest Control Corp. v. Black Widow Pest
Specialists LLC

Ari,

A"ached is a courtesy copy of P001233-P001234, produced during today’s 30(b)(6) deposiAon.

Kind regards,
Samantha

FARBER LLC
Samantha Gerold | Attorney
4 Corporate Drive | Suite 287 | Shelton, CT 06484
Direct line: (914) 844-3832 | Main office: (203) 286-5140
samantha.gerold@farberllc.com | www.farberllc.com

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                                                         35                                                           1 of 8
       Case 3:23-cv-01246-RNC              Document 123-15            Filed 06/18/25       Page 37 of 43


received this transmission in error, please notify the sender by e-mail and delete the message and any attachments.
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From: Samantha Gerold <samantha.gerold@farberllc.com>
Date: Monday, April 14, 2025 at 7:47 PM
To: HoVman, Ari J. <AHoVman@cohenandwolf.com>
Cc: Jonathan Winter <j.winter@farberllc.com>, Carroll, Wilson T.
<WCarroll@cohenandwolf.com>, Estrella, Emilio <EEstrella@cohenandwolf.com>
Subject: 08279 2001A - Black Widow Termite & Pest Control Corp. v. Black Widow Pest
Specialists LLC

Good evening,

Enclosed for production is P001231-P001232.

Kind regards,
Samantha

FARBER LLC
Samantha Gerold | Attorney
4 Corporate Drive | Suite 287 | Shelton, CT 06484
Direct line: (914) 844-3832 | Main office: (203) 286-5140
samantha.gerold@farberllc.com | www.farberllc.com

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received this transmission in error, please notify the sender by e-mail and delete the message and any attachments.
 Distribution of the message is prohibited.



From: Samantha Gerold <samantha.gerold@farberllc.com>
Date: Wednesday, March 26, 2025 at 2:40 PM
To: HoVman, Ari J. <AHoVman@cohenandwolf.com>
Cc: Jonathan Winter <j.winter@farberllc.com>, Carroll, Wilson T.
<WCarroll@cohenandwolf.com>, Estrella, Emilio <EEstrella@cohenandwolf.com>
Subject: Re: 08279 2001A - Black Widow Termite & Pest Control Corp. v. Black Widow Pest
Specialists LLC

Good afternoon,

Enclosed for production is P001229-P001230.

Kind regards,
Samantha

FARBER LLC
Samantha Gerold | Attorney
4 Corporate Drive | Suite 287 | Shelton, CT 06484

                                                         36                                                           2 of 8
       Case 3:23-cv-01246-RNC              Document 123-15            Filed 06/18/25       Page 38 of 43


Direct line: (914) 844-3832 | Main office: (203) 286-5140
samantha.gerold@farberllc.com | www.farberllc.com

This message is confidential and may contain information which is privileged or attorney work product. If you
received this transmission in error, please notify the sender by e-mail and delete the message and any attachments.
 Distribution of the message is prohibited.



From: Samantha Gerold <samantha.gerold@farberllc.com>
Date: Thursday, February 13, 2025 at 2:28 PM
To: Carroll, Wilson T. <WCarroll@cohenandwolf.com>, HoVman, Ari J.
<AHoVman@cohenandwolf.com>
Cc: Jonathan Winter <j.winter@farberllc.com>
Subject: 08279 2001A - Black Widow Termite & Pest Control Corp. v. Black Widow Pest
Specialists LLC

Good afternoon,

Enclosed for production is P001227-P001228.

Kind regards,
Samantha

FARBER LLC
Samantha Gerold | Attorney
4 Corporate Drive | Suite 287 | Shelton, CT 06484
Direct line: (914) 844-3832 | Main office: (203) 286-5140
samantha.gerold@farberllc.com | www.farberllc.com

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received this transmission in error, please notify the sender by e-mail and delete the message and any attachments.
 Distribution of the message is prohibited.



From: Jonathan Winter <j.winter@farberllc.com>
Date: Tuesday, January 21, 2025 at 4:17 PM
To: Carroll, Wilson T. <WCarroll@cohenandwolf.com>, HoVman, Ari J.
<AHoVman@cohenandwolf.com>
Cc: Samantha Gerold <samantha.gerold@farberllc.com>
Subject: Re: Re: Re: Re: Re: 08279 2001A - Black Widow Termite & Pest Control Corp. v.
Black Widow Pest Specialists LLC

Good afternoon:

Enclosed for production is P001221-1226.

Also enclosed is a draft status report, which is technically past due, so we would like to get it ﬁled
ASAP. Please let us know if we can ﬁle with your signature or if you have any suggested changes.

                                                         37                                                           3 of 8
        Case 3:23-cv-01246-RNC         Document 123-15         Filed 06/18/25     Page 39 of 43



Best,

Jonathan Winter
FARBER LLC
4 Corporate Drive | Suite 287 | Shelton, CT 06484
Mobile: (203)-606-0128
Direct line: (203) 285-8356 | Main office: (203) 286-5140 | Fax: (203) 286-5137
E-mail: j.winter@farberllc.com | Website: www.farberllc.com



From: Jonathan Winter <j.winter@farberllc.com>
Date: Monday, January 6, 2025 at 10:09 AM
To: Carroll, Wilson T. <WCarroll@cohenandwolf.com>, HoVman, Ari J.
<AHoVman@cohenandwolf.com>
Cc: Samantha Gerold <samantha.gerold@farberllc.com>
Subject: Re: Re: Re: Re: 08279 2001A - Black Widow Termite & Pest Control Corp. v. Black
Widow Pest Specialists LLC

Good Morning:

Enclosed for production are P000992-1220.

Best,

Jonathan Winter
FARBER LLC
4 Corporate Drive | Suite 287 | Shelton, CT 06484
Mobile: (203)-606-0128
Direct line: (203) 285-8356 | Main office: (203) 286-5140 | Fax: (203) 286-5137
E-mail: j.winter@farberllc.com | Website: www.farberllc.com



From: Jonathan Winter <j.winter@farberllc.com>
Date: Monday, December 9, 2024 at 11:15 AM
To: Carroll, Wilson T. <WCarroll@cohenandwolf.com>, HoVman, Ari J.
<AHoVman@cohenandwolf.com>
Cc: Samantha Gerold <samantha.gerold@farberllc.com>
Subject: Re: Re: Re: 08279 2001A - Black Widow Termite & Pest Control Corp. v. Black
Widow Pest Specialists LLC

Good morning:

Please see the below link for P000640-991. The link expires Thursday. Several of the documents
are marked AEO or Conﬁdential under the protective order.

https://www.dropbox.com/scl/fo/tl6qpvr0n0vzh4kgqscc0/ACQ77snkL_JIzeyvUfTz-rA?

                                                    38                                            4 of 8
        Case 3:23-cv-01246-RNC         Document 123-15         Filed 06/18/25     Page 40 of 43


rlkey=imbv0n36t4bkpf0zqmqqc7g83&st=y46mq5an&dl=0

Best,

Jonathan Winter
FARBER LLC
4 Corporate Drive | Suite 287 | Shelton, CT 06484
Mobile: (203)-606-0128
Direct line: (203) 285-8356 | Main office: (203) 286-5140 | Fax: (203) 286-5137
E-mail: j.winter@farberllc.com | Website: www.farberllc.com



From: Jonathan Winter <j.winter@farberllc.com>
Date: Thursday, October 31, 2024 at 2:16 PM
To: Carroll, Wilson T. <WCarroll@cohenandwolf.com>, HoVman, Ari J.
<AHoVman@cohenandwolf.com>
Cc: Samantha Gerold <samantha.gerold@farberllc.com>
Subject: Re: Re: 08279 2001A - Black Widow Termite & Pest Control Corp. v. Black Widow
Pest Specialists LLC

Ari and Wilson:

Enclosed for service please ﬁnd the following:

PlaintiV’s Damages analysis
Expert report of John Bowen and CV

Linked below for download are P000049-639. The link expires November 2, some of the documents
are marked Conﬁdential or AEO under the protective order. Please conﬁrm when you have
downloaded the ﬁles so we can de-activate the link. P000001-48 were previously produced.

https://www.dropbox.com/scl/fo/1hq18qcfx7vdms7tweyqp/AKdXdJcddPuDwer6_aq8t70?
rlkey=rpj0gfe2x8azxzdqg5o0avpkf&st=b3d958f5&dl=0

Finally, I am enclosing a copy of our October 11, 2024 letter regarding discovery issues speciﬁc to
the deposition of Mr. Black which we have not received a response to. Please advise your
availability for a meet and confer Monday afternoon (except 3-4pm) or Tuesday after 10am in
advance of a request for discovery conference/motion to compel or alternately please produce
these items immediately.

Best,

Jonathan Winter
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                                                    39                                                5 of 8
        Case 3:23-cv-01246-RNC         Document 123-15         Filed 06/18/25     Page 41 of 43




From: Jonathan Winter <j.winter@farberllc.com>
Date: Wednesday, February 14, 2024 at 3:05 PM
To: Hugh Pfabe <hpfabe@armorylegalgroup.com>
Cc: Samantha Gerold <samantha.gerold@farberllc.com>
Subject: Re: 08279 2001A - Black Widow Termite & Pest Control Corp. v. Black Widow Pest
Specialists LLC

See the a"ached P000048 for producAon marked conﬁdenAal. P000001-47 were already produced.

Jonathan Winter
FARBER LLC
4 Corporate Drive | Suite 287 | Shelton, CT 06484
Mobile: (203)-606-0128
Direct line: (203) 285-8356 | Main office: (203) 286-5140 | Fax: (203) 286-5137
E-mail: j.winter@farberllc.com | Website: www.farberllc.com



From: Jonathan Winter <j.winter@farberllc.com>
Date: Monday, February 12, 2024 at 9:19 AM
To: Hugh Pfabe <hpfabe@armorylegalgroup.com>
Cc: Samantha Gerold <samantha.gerold@farberllc.com>
Subject: Re: 08279 2001A - Black Widow Termite & Pest Control Corp. v. Black Widow Pest
Specialists LLC

Hugh – if your client intends to change its name then we can certainly focus on preparing se"lement
papers instead of discovery. We have seen no indicaAon your client is interested in changing its name
and we have a case to prosecute. My client is keeping its pre-mediaAon proposal available only unAl the
call on 2/22, which is what we commi"ed to do. We never discussed a stay/extension of discovery.
 Certainly if your client starts forcing mine to incur discovery expenses it will move us oﬀ the pre-
mediaAon proposal, but your client is enAtled to do what it wants under the discovery rules and we will
respond accordingly.

Best,

Jonathan Winter
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Direct line: (203) 285-8356 | Main office: (203) 286-5140 | Fax: (203) 286-5137
E-mail: j.winter@farberllc.com | Website: www.farberllc.com



From: Hugh Pfabe <hpfabe@armorylegalgroup.com>
Date: Monday, February 12, 2024 at 3:14 AM
To: Jonathan Winter <j.winter@farberllc.com>
                                                    40                                                    6 of 8
        Case 3:23-cv-01246-RNC         Document 123-15         Filed 06/18/25     Page 42 of 43


Cc: Samantha Gerold <samantha.gerold@farberllc.com>
Subject: Re: 08279 2001A - Black Widow Termite & Pest Control Corp. v. Black Widow Pest
Specialists LLC

Hello Jonathan,

I apologize for the slow response. I am on my honeymoon in Iceland and have not been checking emails
since I leY last week.

I was under the impression that, as we and Judge Va[ had discussed the importance of using se"lement
negoAaAons, parAcularly at such an early stage, to a"empt to avoid burdening both of our clients with
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were holding on the document producAon requests and interrogatories as well. I'm sure you agree that
document producAon can be a signiﬁcant ﬁnancial burden, which we would prefer to avoid for both of
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reached out to my client, and I will be back at my desk on Monday, 2/19, at which point I will endeavor
to get the responses to you as quickly as I can.

Thank you,

-Hugh

On Fri, Feb 9, 2024 at 7:55 AM Jonathan Winter <j.winter@farberllc.com> wrote:
  Hugh - responses to these discovery requests were due yesterday and we have not received any
  objecAons or responses. Please produce the requested documents and respond to the
  interrogatories.

  Best,

  Jonathan Winter
  FARBER LLC
  4 Corporate Drive Suite 287 Shelton, CT 06484
  Direct line: (203) 285-8356
  Main oﬃce: (203) 286-5140
  Fax: (203) 286-5137
  E-mail: j.winter@farberllc.com
  Website: www.farberllc.com



          On Jan 9, 2024, at 10:51 AM, Samantha Gerold <samantha.gerold@farberllc.com>
          wrote:


          Good morning,

                                                   41                                                     7 of 8
Case 3:23-cv-01246-RNC         Document 123-15       Filed 06/18/25     Page 43 of 43



 A"ached please ﬁnd PlainAﬀ’s First Set of Interrogatories and Requests for ProducAon
 directed to the Defendant.

 Kind regards,
 Samantha
 <PlainAﬀ's First Interrogatories.pdf>
 <PlainAﬀ's First RFP.pdf>




                                          42                                            8 of 8
